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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE EASTERN DISTRICT OF TEXAS
                                 MARSHALL DIVISION


                                                  §
     APPLE INC.,                                  §
                                                  §
                   Plaintiff,                     §           Civil Action No. 2:21-cv-460
                                                  §
           v.                                     §
                                                  §
     TELEFONAKTIEBOLAGET LM                       §
     ERICSSON and ERICSSON INC.,                  §
                                                  §
                   Defendants.



                    FOURTH AMENDED DOCKET CONTROL ORDER

         In accordance with the parties’ joint motion to amend, it is hereby ORDERED that the

following schedule of deadlines is in effect until further order of this Court:

     Amended Date               Current Date                        Deadline/Event

                       July 10, 2023                *Jury Selection – 9:00 a.m. in Marshall, Texas

                       June 12, 2023                * If a juror questionnaire is to be used, an
                                                    editable (in Microsoft Word format)
                                                    questionnaire shall be jointly submitted to the
                                                    Deputy Clerk in Charge by this date. 1
                       June 5, 2023                 *Pretrial Conference – 1:30 p.m. in Marshall,
                                                    Texas before Judge Rodney Gilstrap




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  The Parties are referred to the Court’s Standing Order Regarding Use of Juror Questionnaires
in Advance of Voir Dire.
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Amended Date         Current Date                    Deadline/Event

                May 30, 2023         *Notify Court of Agreements Reached During
                                     Meet and Confer The parties are ordered to
                                     meet and confer on any outstanding objections
                                     or motions in limine. The parties shall advise
                                     the Court of any agreements reached no later
                                     than 1:00 p.m. three (3) business days before
                                     the pretrial conference.
                May 30, 2023         * File Joint Pretrial Order, Joint Proposed Jury
                                     Instructions, Joint Proposed Verdict Form,
                                     Responses to Motions in Limine, Updated
                                     Exhibit Lists, Updated Witness Lists, and
                                     Updated Deposition Designations
                May 22, 2023         *File Notice of Request for Daily Transcript or
                                     Real Time Reporting.

                                     If a daily transcript or real time reporting of
                                     court proceedings is requested for trial, the
                                     party or parties making said request shall file a
                                     notice with the Court and e-mail the Court
                                     Reporter, Shawn McRoberts, at
                                     shawn_mcroberts@txed.uscourts.gov.
                May 15, 2023         File Motions in Limine

                                     The parties shall limit their motions in limine
                                     to issues that if improperly introduced at trial
                                     would be so prejudicial that the Court could
                                     not alleviate the prejudice by giving
                                     appropriate instructions to the jury.

                May 15, 2023         Serve Objections to Rebuttal Pretrial
                                     Disclosures
                May 8, 2023          Serve Objections to Pretrial Disclosures; and
                                     Serve Rebuttal Pretrial Disclosures


                April 24, 2023       Serve Pretrial Disclosures (Witness List,
                                     Deposition Designations, and Exhibit List) by
                                     the Party with the Burden of Proof




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    Amended Date           Current Date                           Deadline/Event

                     April 17 2023               *Response to Dispositive Motions (including
                                                 Daubert Motions).
                                                 Responses to dispositive motions that were
                                                 filed prior to the dispositive motion deadline,
                                                 including Daubert Motions, shall be due in
                                                 accordance with Local Rule CV-7(e), not to
                                                 exceed the deadline as set forth in this Docket
                                                 Control Order. 2 Motions for Summary
                                                 Judgment shall comply with Local Rule CV-
                                                 56.

                     April 3, 2023               *File Motions to Strike Expert Testimony
                                                 (including Daubert Motions)
                                                 No motion to strike expert testimony
                                                 (including a Daubert motion) may be filed
                                                 after this date without leave of the Court.

                     April 3, 2023               *File Dispositive Motions

                                                 No dispositive motion may be filed after this
                                                 date without leave of the Court.

                                                 Motions shall comply with Local Rule CV-56
                                                 and Local Rule CV-7.

                                                 Motions to extend page limits will only be
                                                 granted in exceptional circumstances.
                                                 Exceptional circumstances require more than
                                                 agreement among the parties.

                     March 27, 2023              Deadline to Complete Expert Discovery

                     March 13, 2023              Serve Disclosures for Rebuttal Expert
                                                 Witnesses

                     February 21, 2023           Deadline to Complete Fact Discovery and File
                                                 Motions to Compel


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  The parties are directed to Local Rule CV-7(d), which provides in part that “[a] party’s
failure to oppose a motion in the manner prescribed herein creates a presumption that the party
does not controvert the facts set out by movant and has no evidence to offer in opposition to the
motion.” If the deadline under Local Rule CV 7(e) exceeds the deadline for Response to
Dispositive Motions, the deadline for Response to Dispositive Motions controls.
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Amended Date         Current Date                    Deadline/Event
                                     Discovery

                February 21, 2023    Serve Disclosures for Expert Witnesses by the
                                     Party with the Burden
                                     of Proof

                February 8, 2023     Comply with P.R. 3-7 (Opinion of Counsel
                                     Defenses)

                January 18, 2023     *Claim Construction Hearing – 9:00 a.m. in
                                     Marshall, Texas before Judge Rodney
                                     Gilstrap

                January 4, 2023      *Comply with P.R. 4-5(d) (Joint Claim
                                     Construction Chart)

                December 28, 2023    *Comply with P.R. 4-5(c) (Reply Claim
                                     Construction Brief)

                December 21, 2022    Comply with P.R. 4-5(b) (Responsive Claim
                                     Construction Brief)

                December 7, 2022     Comply with P.R. 4-5(a) (Opening Claim
                                     Construction Brief) and Submit Technical
                                     Tutorials (if any)

                                     Good cause must be shown to submit technical
                                     tutorials after the deadline to comply with P.R.
                                     4-5(a).

                December 7, 2022     Deadline to Substantially Complete Document
                                     Production and Exchange Privilege Logs
                                     Counsel are expected to make good faith
                                     efforts to produce all required documents as
                                     soon as they are available and not wait until
                                     the substantial completion deadline.

                November 23, 2022    Comply with P.R. 4-4 (Deadline to Complete
                                     Claim Construction
                                     Discovery)




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Amended Date               Current Date                           Deadline/Event

                     November 16, 2022           File Response to Amended Pleadings




                     November 2, 2022            *File Amended Pleadings

                                                 It is not necessary to seek leave of Court to
                                                 amend pleadings prior to this deadline unless
                                                 the amendment seeks to assert additional
                                                 patents.

November 4, 2022 October 26, 2022                Comply with P.R. 4-3 (Joint Claim
                                                 Construction Statement)

(*) indicates a deadline that cannot be changed without showing good cause. Good cause
is not shown merely by indicating that the parties agree that the deadline should be
changed.

                             ADDITIONAL REQUIREMENTS

       Mediation: While certain cases may benefit from mediation, such may not be
appropriate for every case. The Court finds that the Parties are best suited to evaluate whether
mediation will benefit the case after the issuance of the Court’s claim construction order.
Accordingly, the Court ORDERS the Parties to file a Joint Notice indicating whether the case
should be referred for mediation within fourteen days of the issuance of the Court’s claim
construction order. As a part of such Joint Notice, the Parties should indicate whether they
have a mutually agreeable mediator for the Court to consider. If the Parties disagree about
whether mediation is appropriate, the Parties should set forth a brief statement of their
competing positions in the Joint Notice.

        Summary Judgment Motions, Motions to Strike Expert Testimony, and Daubert
Motions: For each motion, the moving party shall provide the Court with two (2) hard copies
of the completed briefing (opening motion, response, reply, and if applicable, sur-reply),
excluding exhibits, in D-three-ring binders, appropriately tabbed. All documents shall be single-
sided and must include the CM/ECF header. These copies shall be delivered to the Court within
three (3) business days after briefing has completed. For expert-related motions, complete digital
copies of the relevant expert report(s) and accompanying exhibits shall be submitted on a single
flash drive to the Court. Complete digital copies of the expert report(s) shall be delivered to the
Court no later than the dispositive motion deadline.

        Indefiniteness: In lieu of early motions for summary judgment, the parties are directed
to include any arguments related to the issue of indefiniteness in their Markman briefing, subject
to the local rules’ normal page limits.
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        Lead Counsel: The Parties are directed to Local Rule CV-11(a)(1), which provides that
“[o]n the first appearance through counsel, each party shall designate a lead attorney on the
pleadings or otherwise.” Additionally, once designated, a party’s lead attorney may only be
changed by the filing of a Motion to Change Lead Counsel and thereafter obtaining from the
Court an Order granting leave to designate different lead counsel.

        Motions for Continuance: The following excuses will not warrant a continuance nor
justify a failure to comply with the discovery deadline:

(a)    The fact that there are motions for summary judgment or motions to dismiss pending;

(b)    The fact that one or more of the attorneys is set for trial in another court on the same
       day, unless the other setting was made prior to the date of this order or was made as a
       special provision for the parties in the other case;

(c)    The failure to complete discovery prior to trial, unless the parties can demonstrate that it
       was impossible to complete discovery despite their good faith effort to do so.

        Amendments to the Docket Control Order (“DCO”): Any motion to alter any date
on the DCO shall take the form of a motion to amend the DCO. The motion to amend the DCO
shall include a proposed order that lists all of the remaining dates in one column (as above) and
the proposed changes to each date in an additional adjacent column (if there is no change for a
date the proposed date column should remain blank or indicate that it is unchanged). In other
words, the DCO in the proposed order should be complete such that one can clearly see all the
remaining deadlines and the changes, if any, to those deadlines, rather than needing to also refer
to an earlier version of the DCO.

       Proposed DCO: The Parties’ Proposed DCO should also follow the format described
above under “Amendments to the Docket Control Order (‘DCO’).”

        Joint Pretrial Order: In the contentions of the Parties included in the Joint Pretrial
Order, the Plaintiff shall specify all allegedly infringed claims that will be asserted at trial. The
Plaintiff shall also specify the nature of each theory of infringement, including under which
subsections of 35 U.S.C. § 271 it alleges infringement, and whether the Plaintiff alleges divided
infringement or infringement under the doctrine of equivalents. Each Defendant shall indicate
the nature of each theory of invalidity, including invalidity for anticipation, obviousness,
subject-matter eligibility, written description, enablement, or any other basis for invalidity. The
Defendant shall also specify each prior art reference or combination of references upon which
the Defendant shall rely at trial, with respect to each theory of invalidity. The contentions of the
Parties may not be amended, supplemented, or dropped without leave of the Court based upon
a showing of good cause.




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    So ORDERED and SIGNED this 24th day of October, 2022.




                                             ____________________________________
                                             RODNEY GILSTRAP
                                             UNITED STATES DISTRICT JUDGE
